                Case 2:21-cr-00126-RAJ Document 3 Filed 08/06/21 Page 1 of 5




 1


2

 J

4

 5

 6
                            UNITED STATES DISTRICT COURT FOR TIIE
 7                            WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9
      UNITED STATES OF AMERICA,                               NO. CR21- 126 RAJ
l0
                                Plaintiff,
t1                                                            INFORMATION
12                                                            18U.S.C. $ 1343
                           v.                                 (Wire Fraud)
l3
       JUDITH WRIGHT,
t4
                                Defendant.
15

l6
     The United States Attorney charges that:
17

18                                                  COUNT 1
                                                   (Wire Fraud)
t9
20   A.      Introduction
2t           1.      Between 2000 and          April z}ls,Transportation Demand Management, LLC
22
     (formerly Transportation Demand Management, Inc.) ("TDM") was a company in
23
     Washington State. TDM operated as a passenger transportation company, doing business
24                                                                                         A&A
     as Starline Luxury Coaches, Wheatland Express, Starline Transportation, and
25
     Motorcoach. TDM maintained its financial and other records at its offices in Seattle,
26
     Washington.
27

28
      U.S, v. Judith Wright/Information   -I                                    LINITED STATES ATTORNEY
                                                                                   7OO STEWART STREET
                                                                                Seerrrr, WasuINcroN   98 I 0   I
                                                                                      (206\ss3-7970
                Case 2:21-cr-00126-RAJ Document 3 Filed 08/06/21 Page 2 of 5




 1           2.      From approximately 2000 through April 2018, JUDITH WRIGHT worked
2    as an independent contractor through her company,      Financial Management Solutions
 J   ("FMS"). As      an independent contractor, JUDITH WRIGHT provided bookkeeping

4    services to TDM and was primarily responsible for maintaining TDM's books and
 5   records. In this capacity, JUDITH WRIGHT had fulI access to TDM's financial records,
 6   bank accounts, and accounting software.
 7           3.      During the relevant period, TDM's accounting software allowed JUDITH
 8   WRIGHT to print checks through the software. When printing a check from the
 9   accounting software, a notice appeared and asked the user if the check had printed
l0   correctly. If the user selected the o'no" option, the accounting software allowed the check
l1   to be printed again, and a new check number was entered into the accounting system.
t2 The accounting software tracked the changes to the check number.
13   B.      The Scheme and Artifice to Defraud
t4           4.      Beginning at a date uncertain, but no later than February 2010, and
15
     continuing through at least in or about January 2017, at Seattle, within the Western
16
     District of Washington and elsewhere, the defendant, JUDITH WRIGHT knowingly
l7 devised    a scheme and      artifice to defraud TDM and to obtain money and property by
18
     means of materially false and fraudulent pretenses, representations, and promises.
t9           5.      The essence of the scheme and artifice to defraud was that JUDITH
20
     WRIGHT used TDM's accounting software to fraudulently issue checks made out to
2l FMS to be drawn         on TDM's bank accounts. JUDITH WRIGHT then deposited these
22
     checks into bank accounts under her control. TDM did not authorize JUDITH WRIGHT
23
     to print additional checks.
24
             6.       It was part of the scheme and artifice to defraud that JUDITH WRIGHT, to
25
     conceal her fraudulent conduct, created false and fictitious entries in TDM's accounting
26
     software on certain occasions. On these occasions, JUDITH WRIGHT falsely indicated
27

28
      U.S. v. Judith WrighVlnformation - 2                                  UNITED STATES ATTORNEY
                                                                                7OO STEWART STREET
                                                                            SEATTLE, WASHTNGToN 98 I O I
                                                                                   (206) ss3-7970
                      Case 2:21-cr-00126-RAJ Document 3 Filed 08/06/21 Page 3 of 5




 1   that the fraudulent checks made out to FMS were being paid to vendors. In fact, JUDITH
2    WRIGHT deposited these fraudulent checks into           a bank account under her control.
a
J             7   .       It was further part of the scheme and artifice to defraud that JUDITH
4    WRIGHT created other false and fictitious accounting entries in TDM's accounting
5    system that falsely recorded the fraudulent checks as credit card fees.
6             8.          For example, on or about August 26,2016, JUDITH WRIGHT submitted
 7   an invoice (Invoice        TDM829l6) in the amount of $3,052.50 to TDM for accounting
 8   services from August 15, 2016 to August 26,2016.
 9            g.          On September 6,2016, TDM's Chief Financial Officer (CFO) approved the
10   $3,052.50 invoice to FMS in TDM's accounting software. On September 7 ,2016,
1t   JUDITH WRIGHT created check number 5761made payable to FMS in the amount of
t2 $3,052.50, dated September 6,2016. On September 7,2016, check number 5761, drawn
l3 on TDM's lst Security Bank of Washington account ending in 3360, was deposited into
l4   JP   Morgan Chase Bank account 9385 in the name of Judith A. Wright, dba Financial
15   Management Solutions.
l6            10.         on September 16, 2016, JUDITH WRIGHT, using TDM',s accounting
t7   software, fraudulently reprinted check number 5761 as check number 5747. On
18   September 16,2016, JUDITH WRIGHT deposited this fraudulent check, check number
t9   5747 ,   in the amount of $3,052.50, and with a check date of September 6,2016, into her
20   JP   Morgan Bank account 9385.
2l            11      .   Between in or about February 201 0 and in or about January 2017 , JUDITH
22   WRIGHT issued approximately 120 fraudulent checks to herself and fraudulently
23   obtained $298,737.76 in funds belonging to TDM.
24   C.       Execution of the Scheme and Artifice to Defraud
25
                  12.     On or about September 16,2016, within the Western District     of
26
     Washington and elsewhere, defendant JUDITH WRIGHT, for the pu{pose of executing
27
     this scheme and artifice to defraud and for obtaining money and property by false and
28
                                                                                 UNITED STATES ATTORNEY
      U.S. v. Judith Wright/Information -   3
                                                                                    7OO STEWART STREET
                                                                                 SEATTLE, wAsHrNcroN 98101
                                                                                       (206\ 553-'7970
                 Case 2:21-cr-00126-RAJ Document 3 Filed 08/06/21 Page 4 of 5




 1   fraudulent pretenses, representations, and promises and attempting to do so, knowingly
 2   deposited check number 5747 into her JP Morgan Bank Account ending in 9385. In so
 a
 J   doing, JUDITH WRIGHT caused check number 5747, which was drawn on TDM's                               l't
 4   Security Bank of Washington account ending in 3360 to be scanned and electronically
 5   transmitted from Washington State to the Federal Reserve Bank in San Francisco,
 6   California for clearing and settlement.
 7             All in violation of Title      18, United States Code, Section 1343.

 8                                      FORF'EITURE ALLEGATION
 9             The allegations contained in Count 1 of this Information are hereby reallaged and
l0 incorporated by reference for the purpose of alleging forfeiture. Upon conviction of the
11   offense alleged in Count 1, the defendant JUDITH WRIGHT shall forfeit to the United
t2   States, pursuant to     Title 1 8, United States Code, Section   98   l(aX l XC), by way of Title 28,
13   llnited   States Code, Section 2461(c), any properfy that constitutes or is traceable to

t4 proceeds of the offense. This properly includes, but is not limited to:
15                    a.       a sum of money in the amount of $298,137.76 reflecting the

t6 proceeds the defendant obtained from the offense.
t7
               Substitute Assets. If any of the above-described forfeitable property, as a result of
18
     any act or omission of the relevant defendant,
t9
20
               a.     cannot be located upon the exercise of due diligence;

2l
               b.     has been transferred or sold to, or deposited with, a third party;

22
               c.     has been placed beyond the jurisdiction of the Court;

23
               d.     has been substantially diminished in value; or,

24
               e.     has been commingled with other properfy which cannot be divided without

                      difficulty;
25

26

27

28
      U.S. v. Judith Wright/Information - 4                                        UNITED STATES ATTORNEY
                                                                                       7OO STEWART STREET
                                                                                    SEATTLE, WASHINGToN 98 I OI
                                                                                          (206) ss3-7970
               Case 2:21-cr-00126-RAJ Document 3 Filed 08/06/21 Page 5 of 5




 I   it is the intent of the United States to seek the forfeiture of any other property of the
 2   defendant, up to the value of the above-described forfeitable property, pursuant to Title
 a
 J   21, United States Code, Section 853(p).
 4

 5
            DATED: August 4,2021.
 6

 7
                                                             S--^-                                           0t(r
 8                                                                                                           .'$'TG
                                                        Acting United States Attorney
 9

10

ll                                                         erlle_SL_
                                                        ANDREW C. FRIEDMAN
t2                                                      Assistant United States Attorney
l3
T4

15
                                                            istant United States Attorney
t6
t7
l8
19

20

2l
22

23

24

25

26

27

28
     U.S. v. Judith WrighVlnformation - 5                                    UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET
                                                                              SEATTLE, WASHTNGToN 98 I 0 I
                                                                                     (206) 5s3-7970
